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 5
     Attorney for Defendant
     MANUEL HERRERA
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-11-296-02 WBS
 9
                                                     )
                                                     )
10          Plaintiff,                               )       STIPULATION AND [PROPOSED]
                                                     )       ORDER CONTINUING JUDGMENT
11
     v.                                              )       SENTENCING
                                                     )
12
     MANUEL HERRERA,                                 )
                                                     )       Date: June 8, 2015
13
                                                     )       Time: 9:30 a.m.
            Defendant.                               )       Judge: William B. Shubb
14
                                                     )
                                                     )
15
                                                     )
16

17

18          The parties hereby stipulate the following:
19          1. Judgment and sentencing in this matter is presently set for December 8, 2014.
20              Counsel for the parties request the date for judgment and sentencing be continued to
21              June 8, 2015 at 9:30 a.m. Assistant U.S. Attorney Lee Bickley has been advised of
22              this request and has no objection. The co-defendants are set for jury trial on April 21,
23              2015. It is anticipated Mr. Herrera will testify for the government and therefore the
24              parties believe postponing Mr. Herrera's sentencing until after the trial is appropriate.
25              The parties request the Court adopt the following schedule pertaining to the
26              presentence report:
27
                Judgment and Sentencing date:                                      6/8/15
28
                Reply, or Statement of Non-Opposition:                             6/1/15


                                                         1
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 1
              Motion for Correction of the Presentence Report
 2            Shall be filed with the Court and served on the
              Probation Officer and opposing counsel no later than:         5/25/15
 3
              The Presentence Report shall be filed with the Court
 4
              And disclosed to counsel no later than:                       5/18/15
 5
              Counsel’s written objections to the Presentence Report
 6            Shall be delivered to the probation officer and opposing
 7
              Counsel no later than:                                        5/11/15

 8            The Presentence Report shall be filed with the Court
              And disclosed to counsel no later than:                       4/27/15
 9

10

11
        IT IS SO STIPULATED.
12
     Dated: November 18, 2014                                  /s/ John R. Manning
13
                                                              JOHN R. MANNING
14                                                            Attorney for Defendant
                                                              MANUEL HERRERA
15

16
     Dated: November 20, 2014                                 Benjamin B. Wagner
17                                                            United States Attorney

18                                                     by:    /s/ Lee Bickley
                                                              LEE BICKLEY
19
                                                              Assistant U.S. Attorney
20                                             ORDER
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22
           IT IS SO FOUND AND ORDERED.
     Dated: November 20, 2014
23

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